                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )       No. 3:06-CR-166-001
V.                                                )       (JARVIS/GUYTON)
                                                  )
SANFORD MYERS                                     )


                             MEMORANDUM AND ORDER

                The defendant appeared before the undersigned on December 28, 2006, for an

arraignment and detention hearing. Assistant United States Attorney Cynthia F. Davidson was

present representing the government. Attorney James A. H. Bell appeared and advised this Court

that he would accept CJA appointment on behalf of the defendant. Ralph E. Harwell and Tracy

Smith orally moved to withdraw as counsel for Sanford Myers.

               Accordingly, the oral motion is GRANTED, and it is ORDERED that Ralph E.

Harwell and Tracy Jackson Smith are relieved as counsel for Sanford Myers and further, that

James A. H. Bell is hereby appointed as CJA counsel of record for Sanford Myers.

              IT IS SO ORDERED.

                                           ENTER:

                                                 s/ H. Bruce Guyton
                                           United States Magistrate Judge




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